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                                   IJNIT~I~ S'I'1~T~;S DISI'RTCT COURT
                                    MIDDLE DISTRICT DF FLORIDA
                                            TAMPA DIVISION

   I~FITH STANS~LL,MARC GONSALVES,
   THOMAS HOWES,JUDIZ~H G. JANIS,
   CI~RISTOPI~ER T. JANIS, GREER C. JANIS,
   MICHAEL I. JANIS, AND JONATI~AN N. JANIS,

           Plaintiffs,

   v.                                                        `Case No.: 8:09-CV-02308-RAL-.MAP

   REV(Jl,(JTTnNt~R~':~RNIED FOlZ~'ES OF'
   COLOMBIA (FARO),et al.,

            Defendants.



                                  AFFTllA~'lT OF KASSIM TAJID~~N


        1. My name is Kassim Tajideen; anci I am personally familiar with the contents ofthis

            affidavit.

        2. Yam unequivocally. apposed io tei-rarism and other alts of political violence.

        3. I am unequivocally apposed to narcotics traff eking and related criminal enterprises.

        4. I would never knowingly participate in or support acts of terrorism or other acts of

            politieal~~iUlence, narcotics traCficl<iu~;, ort~ other related criminal cnterprrses.

        5. T am a businessman r~nci lzavc been wrongly sanctioned for improper de~alin~s with

            H zballah.'

        6. I have petitioned OFAC to remove such :sanctions by demonstrating that there is no

            factual or legal basis for my designation as a supporter of Hizballah.

        7. I am in the process of seeking such delisting by nFAC to remove my name and those of

            my companies from its sanctionslist of supporters of Hizballah.
                                                         1
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      8. I am the owner-in-fact of, and I exercise sole control.over, both Grupo Arosfran

          Empreendimentos E Partcipacoes SARL("Grupo Arosfran") and Ovlas Trading SA

        ("Ovlas Trading"). Accordingly, I can affirm the following facts on behalf of myself,

          Grupo Arosfran, and Ovlas Trading.

      9. Grupo Arosfran and Ovlas'I'rading are not agencies,:instrumentalities, divisions, front

          companies, networks, predecessors, subordinates, derivatives, or successor organizations

          of Hizballah or the FARO.

      10. I have no relationship with Hizballah or the Revolutionary. Armed Forces of Colombia

         ("FARC"), the Colombian drug cartel.

      1 1. I am not an went of Hizballah or the FARC.

      12. I am not an instrumentality of Hizballah or the FARO.

      13. I do not.support Hizballah or the FARO.

      14. I am not a member or affiliate of Hizballah or the FARC.
                                                                                                      e
      15. I do not and have never knowingly provided financial or tcclmc~lobical material assistanc

          or support for or to I~izballah or the FARC.

      16. I do not and have never knowingly provide{d; ~~ods o~• services in support ofthe

          international narcotics iraf~icking acti~it es of Hizballah or the F~RC:
                                                                                              other
      17. I do not and have never knowingly provide{d,' ~~oocls or services in support of any

          specially designated narcotics trafficker designated by the Li.~. 1)cpartment ofthe

          Treasury's Office of'Foreign Assets Control("OFAC").

       18. I am not and have never been owned, controlled, or directed by, I-~izballah or the FAIZC.

       19. I am not and have never been owned, controlled, or directed by any other specially

          designated narcotics trafficker designated by OFAC.
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       ?0. 1 do nut and have never I<n~>win~l~~ acllcd} fur or on hc1~~ilf of 1li~ballah ~~r the 1~~1RC`:

        1. ] do nut and liavc nc~~cr 1<n~~~~~>>i~l~~ act ~c~i; 1<>j~ i>r c>n behali~ of ~~n~~ otllcr spcci~~lly

           c~~si~i~atcd narcotics tr~af~fickcr cicsi~nat~d by C)F.'~C.

       22. 1 c3c~ nol and l~avc never 1<no~~,~in~l~ }~l~iy ~c.cl} any r~~lr —much less a si~nificani role — in

           intej~n~itic~ual narcotics iraliicl:in~:; ~~clated t<~ coca passe or c~>caine manufactured or

           supplied by 1 lizballali ol~ the I~nIZC.

      ?~. I do ni t and have never lcz~owin~ly play tcd an}~ mole - much less a si~niticant ~~olc - in

           intcl~nalional i1a~-cotics tr~ii'ticl:ing rcl~~t~cl to c~>ra l~ast~ ol- cocaine Inanutaciur~cl or

           sup~liea by any other s~~e~ally dcsignaled narcotics lrallicl.er designated by Ol~ AC;.

       24. I do not supply, and have never knowingly supplied, currency, weapons, ammunition,

           logistics, transportation, or supplies, nor financial or money laundering services, to

           lIirballah or the PARC or its trafficking partners, direct or indirectly, as consideration for

          }~~RC coca paste or cocaine.

       25. 1 am not an~i lave iicver knowingly been involved with the tindncial or money laundering

           network of a drug cartel.

      26. I am not and have never knowingly been involved with any organization that has supplied

           ctu~i~cncy, ~~veapons, ammunition, logistics, transportation, or supplies, or financial oi~

           money launderi~lg sc~•vicesto Hizballah or lhe'I'ARC or its f1~al~cicine partricrs, directly

           or indirectly, as consia~~•ation for l~ARC coca paste or c~cainc.

       27. 1 do not. ~lnd have never knowingly assisted} or provide{d} Iinancial or technological

           su~~port for onto, or provide{d} goods ox services in su~po~~i cif, or act{ed} on<hehxlf of

           the international narcotics trafficking activities of H zballah or the FARO.




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       28. I clo n~i ~lncl have never kn~wiil~l~ assist{cci} or provide{d} linancial'or techfiological

           Sul~l~~>rt ii>r ur tip, or J~roviclr{~j} ~~~ods oi- scl~vices ii1 sii~~}~oi~t of, ~~r acl{~cJ ot~ I~chalf ~~I~

           the inlcrn~ltion<ll narcotics tr~~Itickin~, acti~~itics of an1~ c~tl~er sl~~cially ~ic~iL,natecl narcotics

          traflir.kii~~ designated by pF~C.

      29. I was born rn1 Marcl 21, 1955. In ~hc lace 1970s l in~mi~rated toSierra Lc~>ne where I

           marriedmywife ai~dhad (i>ur cl~ildien.In 1~7C 7bc~an n7y first business in Africa: retail

           sales ol~foodstul'1~s such as cliickcn~, beans, and rice, which I purchased locally and sc~lc~

           t~ consumers:

       30. Over tinge, the business ~xpanaed to wholesale purchas i~~, importing foodstuffs and

          other consumer goods, and resale to consumers. In the late 1980s, I began transferring

           ownership and full control over my business in Sierra Leone to my bt~other, Jaffar

           Tajideen, and moved to Belgium.

       3L In Belgium, I continual to expand my business by establishing relationships with

           European and'U.S. suppliers from whom I would buy in bulk and export or otherwise sell

           to companiesin West and Central Africa. By the mid-1990s, my business had expanded

           into Angola, where I founded Grupo Arosfran.

       32. Eventually, Grupo Arosfran imported, distributed, and resold .goods in Angola, and my

           business in Africa grew to include broader manufacturing, distribution, and resale

           operations.

       33. I established a purchasing platform in Lebanon, Ovlas Trading, to take advantage of

           economies of scale. Ovlas Trading would purchase large amounts offoods from mostly

           Western suppliers and then sell to Africa, to my African.businesses and other customers.




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       34. I understand that the Plaintiffs in this lawsuit have sought and obtained writs garnishing

           assets held by Grupo Arosfran, Ovlas Trading, and: me (in my personal capacity) in the

           United States which'have bcen blocked by OI'AC.

       35. T further understand that the Plaintiffs seal. ari ~~rdcr awai~din~ those assets ici Plaintiffs in

           satislaction of a jud~,rn~rit l~l~eviotlsly obi~incd by the Plaintill~s abainst the 1~/LRC.

       36. Prig to the Plaintiffs' cflo~~ts in this lawsuit, 1 am tinaw~u~c of any ~~ilcgation purporting to

           conn~ci mc, Gru}~o /1ro~Gan o~~ Uvlas ~l~radinb to t1~c 1'ARC in an~~ way.

       37. On May 27,?009, OFAC designated nie as a S}~ccially I)~si~natccl Global "1'err~rists

           pursuant to Executive Order 13224 because of alleged c~i~nections to Hzballah.

       38. On December 9, 2010, OFAC designated Grupo Arosfran and Ovlas Trading as Specially

           Designated Global Terrorists.

       39. I have never knowingly supported Hizballah or the FARC,either in my personal capacity

           or through any.corporate entity I control.

       40. I have sought to avoid unnecessary entanglements wish I Iizballah despite the challenges

          of doing.so while conducting business in Lebanon.

       41. Since OFAC's designation of me and my companies, I have dedicated considerable time

           and resources in an effort to determine what(if anyifiin~) c<~uld have formed the basis of

           that~des gnat on, so that I could take immediate remedial action.

       42. Since OFAC's designation, I have adopted comprehensive remedial measures that

           directly address defciencies that previously existed in financial and compliance controls

           at my companies. These include controls around four key areas: corporate governance,

           cash management, financial management,.and screening/due diligence. These are

           designed to effectively mitigate the t~isics that anyone at any of my companies might make

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          unauthorized and improper financial payments to Hizballah or any other terrorist

          organizations.

       43. I have also undertaken alarge-scale re-organization and consolidation ~f my business

          operations in order to simplify those operations and further reduce risk.

       44. Among other things,.this process resulted in the winding.down ~f Ovlas Trading and

          Cirupo Arosfran, which as a result no longer have atiy ongoing commercial activity, but

          have not been formally dissolved only because they hold the property or interests in

          property chat are the subject of this proceeding.

      45. One frequent point of confusion relating to my designation is my relationship with my

          brothers Ali and Husayn Tajideen, and the existence of multiple companies known as

          "Tajco." Both of my brothers have been designated by OFAC pursuant to Executive.

          Order 13224.

      46. I previou5l~~ owned end controlled a company n Sierra Leone called Tajco Ltd. One of

          n y br~tlier~,.Ali Tajdeen,owned and controlled a company called "Tajco SARI.".that

          operated in Lebanon. My other.brother, Husayn Tajideen, owned and controlled a third

          company, Tajco Ltd:, in The Gambia.

      47. These three entities.were independent businesses and operationally distinct. Despite.this,.

          I am aware of numerous published reports erroneously conflating the different "Tajco"

          companies.

      48. OFAC has also erroneously conflated these separate Tajco entities. OFAC's December 9,

          2010 press release referred to me and my brother Ali Tajideen as "business partners and

          co-owners of Tajco SARL, operating as Tajco Company LLC in Tyre, Lebanon, with Ali

          Tajdeen serving as the managing partner." I believe that this description of my


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           involvement with Tajco EARL stems from n1y previous listing as a shareholder of that

           company (until 2010). However, past finks between me and my brother Ali were limited

           to matters of corporate formality, i.e.; it was common practice for me and my brother to

           use family members and close friends as nominal shareholders and/or corporate officers

           of ourrespective companies, even when such individuals played no active role in those

           companies. This ~~as done tc~ adhere to T,ehanese corporate law; which would require that

           a<co~npany have rl~ultiplc sl~ai~cholcicrs in oi~cicr to inc~r~~orale. I~~~~,itc u~y ~l~~n~inal

           sllarch~ldin~, neither 1 n~r~nybt~other Ali ~layeaany managerialor sLipervisory role in

           any of the ocher's bi~sinessaffai~-s.

      49. Althot~~h my iri~pot-ti~~g and cxportin~~ l~usi~~esses have, in the p.lst, engaged in

          commercial d~alin~s with "]~ajco I:ici. in 'I'hc Cambia, such dealings have ceased and— in

           any case —never, to the best of my l:no~vledge and belief, involved any provision of

           suppoj;t to cith~r H.izball~~h or iv the I~AR~'.




   I declare and state under pcn~Jiy of peijin~y tinder the laws of the United States of America that

   the foregoing is true aiicl correct. 28 U.S.C. l 746.




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